Debtor name Mission Coal Company, LLC, et al.
UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF ALABAMA
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                12/15
A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
largest unsecured claims.

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


1   Trustees of the UMWA                                                       Union                                                                         $9,730,167.12
    Pension & Benefit
    P.O. Box 19175A
    Newark, NJ 07195




2   Michael H. Hollard et al.                                                  Litigation                                                                    $4,900,000.00
    c/o Ogletree Deakins
    Attn: John Woodrum
    1909 K St. NW
    Washington, DC 20006



3   Bluestone Coal Corporation, and                                            Litigation                                                                    $4,000,000.00
    Double-Bonus Mining Company
    c/o Hendrickson & Long, Pllc
    P.O. Box 11070
    Charleston, WV 25339




4   Natural Resource Partners                                                  Trade                                                                         $3,198,387.79
    654 Main St
    Rockwood, PA 15557




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Debtor name Mission Coal Company, LLC, et al.                                                             Case No. (If known)

                                                                    (Continuation Sheet)

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code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


5   Carter Machinery Co Inc                  Henry Looney                          Trade                                                                         $2,122,561.12
    Attn: Henry Looney                       Tel: 304-683-5932
    P.O. Box 743849
    Atlanta, GA 30374-3849



6   Alabama Power Company                    Tel: 205-257-1000                     Trade                                                                         $1,953,726.97
    Remittance Processing Center
    P.O. Box 242
    Birmingham, AL 35292




7   United Central Industrial Supply         Tel: 202-693-9400                     Trade                                                                         $1,868,867.80
    Us Dept of Labor Msha
    P.O. Box 790390
    St Louis, MO 63179




8   Rockwood Casualty Insurance              Tel: 304-732-8646                     Trade                                                                         $1,652,263.00
    Company
    Rt 10 North
    P.O. Box 819
    Pineville, WV 24874



9   Sheriff of Wyoming County                                                      Government                                                                    $1,469,807.48
    P.O. Box 529
    Pineville, WV 24874




10 Joann Waid et al.                         Astrika Adams                         Litigation                                                                    $1,200,000.00
   Attn: Astrika Adams                       Email:
   ERP Compliant Fuels LLC                   Astrika.Adams@Clarkeinvestments.Com
   P.O. Box 305
   Madison, WV 25130


11 Us Dept of Treasury                       Tel: 888-710-4237                     Government                                                                    $1,187,777.58
   P.O. Box 24415
   Canton, OH 44701-4415




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                                                                 (Continuation Sheet)

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code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
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                                                                               loans,                               deduction for value of collateral or setoff to
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                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


12 White & Case LLP                                                            Professional                                                                  $1,010,736.12
   1221 Ave of the Americas                                                    Services
   New York, NY 10020




13 Jimmy Baker V. Oak Grove Resources                                          Litigation                                                                    $1,000,000.00
   Matter
   c/o Richard L. Wyatt, Attorney
   2010 Lancaster Rd
   Birmingham, AL 35209


14 Webster, et al.                                                             Litigation                                                                    $1,000,000.00
   c/o Heninger, Garrison, Davis, LLC
   Attn: Jeff Leonard
   2224 1St Ave N.
   Birmingham, AL 35203




15 Anthem Blue Cross and Blue Shield                                           Trade                                                                           $838,027.31
   1717 Arch St, Suite 4010
   Philadelphia, PA 19103




16 Appalachian Power                       Tel: 304-255-0537                   Trade                                                                           $737,357.80
   367 George St
   Beckley, WV 25801




17 Surratt, et al.                                                             Litigation                                                                      $585,000.00
   c/o the Masters Law Firm
   Attn: Roger Decanio
   181 Summers St
   Charleston, WV 25301




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Debtor name Mission Coal Company, LLC, et al.                                                        Case No. (If known)

                                                                (Continuation Sheet)

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                                                                              services, and
                                                                              government
                                                                                                                  Total Claim, if   Deduction        Unsecured claim
                                                                              contracts)
                                                                                                                  partially         for value of
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


18 Phillips Machine Service               Tel: 304-933-8000                   Trade                                                                           $565,630.16
   400 White Oaks Blvd
   Bridgeport, WV 26330




19 Steptoe & Johnson Pllc                                                     Professional                                                                    $562,915.98
   100 Main & River Sts                                                       Services
   P.O. Box 308
   Kenova, WV 25507



20 Birmingham Terminal Railway LLC        Tel: 620-231-2230                   Trade                                                                           $549,431.46
   Attn: Jay Benedict
   P.O. Box 790343
   St Louis, MO 63179-0343




21 Grover Dunn Assistant Tax Collector                                        Trade                                                                           $512,794.46
   P.O. Box 1190
   Bessemer, AL 35021-1190




22 Jennchem LLC                           Kenny Church                        Trade                                                                           $462,462.29
   Attn: Kenny Church                     Tel: 304-294-8153
   P.O. Box 1840
   Pineville, WV 24874




23 Smith Manus                                                                Trade                                                                           $442,533.00
   P.O. Box 2446
   Mt Lake Park, MD 21550




24 Rickie Johnson Matter                                                      Litigation                                                                      $425,000.00
   c/o Hamilton, Burgess, Young &
   Pollard Pllc
   Attn: Kevin Burgess
   P.O. Box 959
   Fayetteville, WV 25840




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                                                                (Continuation Sheet)

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                                                                              loans,                               deduction for value of collateral or setoff to
                                                                              professional                         calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                                                                  Total Claim, if   Deduction        Unsecured claim
                                                                              contracts)
                                                                                                                  partially         for value of
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


25 White Armature Works Inc                                                   Trade                                                                           $413,450.04
   7258 Cool Springs Blvd, Suite 600
   Franklin, TN 37067




26 Custom Engineering Inc                 Tel: 304-522-5757                   Trade                                                                           $361,630.82
   5260 Irwin Rd
   Huntington, WV 25705




27 GMS Mine Repair & Maintenance          Tel: 270-664-6207                   Trade                                                                           $359,966.44
   656 Hall St
   P.O. Box 320
   Clay, KY 42404



28 GATX Rail                              Jay Leadingham                      Trade                                                                           $358,638.60
   Attn: Jay Leadingham                   Tel: 312-621-6470
   222 West Adams St
   Chicago, IL 60606




29 Quality Magnetite LLC                  Anthony Hruska                      Trade                                                                           $321,786.64
   Attn: Anthony Hruska                   Tel: 412-963-9071
   P.O. Box 603800
   Charlotte, NC 28260-3800




30 Cowin Equipment Company Inc            Scott Dyer                          Trade                                                                           $315,771.53
   Attn: Scott Dyer                       Tel: 304-453-2222
   P.O. Box 671413
   Dallas, TX 75267-1413




31 Ken & Coy Rock Inc                     Chris Walls                         Trade                                                                           $295,904.00
   Attn: Chris Walls                      Tel: 304-583-9681
   State Route 10
   Mallory, WV 25634




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                                                                  (Continuation Sheet)

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                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


32 Metlife                                                                      Trade                                                                           $289,709.52
   P.O. Box 603800
   Charlotte, NC 28260-3800




33 Power Technologies                       Tel: 770-321-2500                   Trade                                                                           $289,126.51
   P.O. Box 809021
   Chicago, IL 60680




34 Bradley Arant Boult Cummings LLP         Tel: 812-354-8156                   Trade                                                                           $261,207.55
   P.O. Box 241
   Petersburg, IN 47567




35 Coal Specialty Funding, LLC                                                  Trade                                                                           $258,864.38
   Dept Ch 10579
   Palatine, IL 60055-0579




36 CRA International Inc DBA Charles                                            Trade                                                                           $254,624.87
   River
   2094 B F Buchanan Hwy
   Tazewell, VA 24651



37 Cowin & Company Inc                                                          Trade                                                                           $249,383.42
   11 Lloyd Ave, Suite 200
   Latrobe, PA 15650




38 Tazewell Mining Supply & Equipment                                           Trade                                                                           $234,237.00
   Inc
   200 Clarendon St
   Boston, MA 02116




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Debtor name Mission Coal Company, LLC, et al.                                                            Case No. (If known)

                                                                    (Continuation Sheet)

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                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


39 Berwind Land Company                       Tel: 304-346-0569                   Trade                                                                           $229,173.71
   P.O. Box 79017
   Baltimore, MD 21279-0017




40 Advantage Technology LLC                                                       Trade                                                                           $213,321.60
   950 Kanawha Blvd E
   Charleston, WV 25301




41 Blizzard Industrial Supply Co              Tel: 205-945-1300                   Trade                                                                           $208,313.07
   Mining Engineering & Contr
   301 Industrial Dr
   Birmingham, AL 35211



42 Joy Global Underground Mining LLC          Tel: 205-521-8000                   Trade                                                                           $197,809.87
   4365 Appalachian Hwy
   Pineville, WV 24874




43 AAA Mine Service Underground Inc                                               Trade                                                                           $197,089.92
   18 Mountain View Dr
   Hazard, KY 41701




44 Joy Global Conveyors Inc                   Brian Peach                         Trade                                                                           $184,265.95
   Attn: Brian Peach                          Tel: 304-525-7811
   400 High St, P.O. Box 2187
   Huntington, WV 25722



45 Pense Bros Drilling                        Tel: 800-525-7923                   Trade                                                                           $179,180.50
   P.O. Box 72
   Mount Hope, WV 25880




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Debtor name Mission Coal Company, LLC, et al.                                                           Case No. (If known)

                                                                  (Continuation Sheet)

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                                                                                 loans,                               deduction for value of collateral or setoff to
                                                                                 professional                         calculate unsecured claim.
                                                                                 services, and
                                                                                 government
                                                                                                                     Total Claim, if   Deduction        Unsecured claim
                                                                                 contracts)
                                                                                                                     partially         for value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff


46 Martin And Associates                   Richard Brennan                       Trade                                                                           $178,564.89
   Attn: Richard Brennan                   Tel: 205-488-3961
   P.O. Box 10624
   Birmingham, AL 35202



47 Thompson Tractor & Equip Co             Tel: 800-547-0760                     Trade                                                                           $172,225.81
   2401 Pinson Hwy
   Birmingham, AL 35217




48 Cliffs Natural Resources Inc                                                  Litigation          Unliquidated
   c/o Young Conaway Stargatt & Taylor,
   LLP
   Rodney Square
   1000 North King St
   Wilmington, DE 19801

49 Linda Weekly, et al.                    Astrika Adams                         Litigation          Unliquidated
   Attn: Astrika Adams                     Email:
   ERP Compliant Fuels LLC                 Astrika.Adams@Clarkeinvestments.Com
   P.O. Box 305
   Madison, WV 25130




50 Alison Shepherd As Surviving Spouse,                                          Litigation          Unliquidated
   Mother, Next Friend To Minor Children
   c/o Church Brogden P.C.
   Attn: Billy L. Church
   2101 1st Ave North
   Pell City, AL 52125




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